                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

      v.                                               Case No. 06-CR-299

GABINO ALFARO-GARCIA
              Defendant.


                              SENTENCING MEMORANDUM

      Defendant Gabino Alfaro-Garcia pleaded guilty to conspiracy to distribute cocaine,

contrary to 21 U.S.C. §§ 841(b)(1)(B) & 846, based on his provision of one kilogram of cocaine

to two co-defendants, who in turn attempted to deliver it to a cooperating informant. The

probation office prepared a pre-sentence report (“PSR”) in anticipation of sentencing. Based

on additional relevant conduct, the PSR set defendant’s offense level at 32 based on a drug

weight of 5 to 15 kilograms of cocaine, U.S.S.G. § 2D1.1(c)(4), then subtracted 3 levels for

acceptance of responsibility, § 3E1.1, for a final offense level of 29. Coupled with a criminal

history category of II, the PSR recommended an imprisonment range of 97-121 months under

the advisory sentencing guidelines.

      Neither side objected to the PSR, but defendant requested a departure under U.S.S.G.

§ 4A1.3(b) and a non-guideline sentence of five years, the mandatory minimum, under 18

U.S.C. § 3553(a). Upon consideration of all of the relevant factors and the arguments of

counsel, I imposed a sentence of 78 months in prison.

                              I. SENTENCING PROCEDURE

      In imposing sentence, the court must consider the factors set forth in § 3553(a), which



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include:

       (1)    the nature and circumstances of the offense and the history and
              characteristics of the defendant;

       (2)    the need for the sentence imposed–

              (A) to reflect the seriousness of the offense, to promote respect for the law,
              and to provide just punishment for the offense;

              (B) to afford adequate deterrence to criminal conduct;

              (C) to protect the public from further crimes of the defendant; and

              (D) to provide the defendant with needed educational or vocational training,
              medical care, or other correctional treatment in the most effective manner;

       (3)    the kinds of sentences available;

       (4)    the advisory guideline range;

       (5)    any pertinent policy statements issued by the Sentencing Commission;

       (6)    the need to avoid unwarranted sentence disparities; and

       (7)    the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a). While the Seventh Circuit considers traditional guideline departures

obsolete in the post-Booker era, see, e.g., United States v. Spano, 476 F.3d 476, 480 (7th Cir.

2007), the sentencing court may continue under § 3553(a)(5) to consider the Commission’s

policy statements on departures in determining whether the guidelines produce a good fit in the

instant case. The ultimate statutory directive is to impose a sentence sufficient but not greater

than necessary to satisfy the purposes of sentencing set forth in § 3553(a)(2).

                                       II. DISCUSSION

A.     Nature of Offense

       Defendant supplied a significant amount of cocaine – 5 to 15 kilograms – over the


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course of about two years. The conduct was serious based on the amounts involved and the

length of time over which it occurred. However, I accepted defendant’s statement that he used

dealing to supplement his legitimate income and send money back to his family in Mexico, and

also to obtain cocaine for personal use. He did not become wealthy from his criminal activity.

Further, the offense was not aggravated by violence or weapon possession.

B.     Character of Defendant

       A twenty-nine year old citizen of Mexico, defendant came to this country in 1997 for

financial reasons. Once here, he received convictions for exposing himself to a minor, drunk

driving twice and disorderly conduct. He received a sentence of probation on the first case and

fines on the others.

       While this was certainly not the worst record I have seen, I did not believe that placing

him in criminal history category II resulted in an over-statement of his criminal history. See

U.S.S.G. § 4A1.3(b) (“If reliable information indicates that the defendant’s criminal history

category substantially over-represents the seriousness of the defendant’s criminal history or

the likelihood that the defendant will commit other crimes, a downward departure may be

warranted.”).   Defendant received four convictions between 2000 to 2004, immediately

preceding his commencement of the instant criminal conduct, which occurred from 2004 to

2006. Thus, his record was not remote, see U.S.S.G. § 4A1.3 cmt. n.3 (“A downward

departure from the defendant’s criminal history category may be warranted if, for example, the

defendant had two minor misdemeanor convictions close to ten years prior to the instant

offense and no other evidence of prior criminal behavior in the intervening period.”), and given

the number of contacts, I did not find it appropriate to compare him to someone in category I,

who must have no record or just 1 point.

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       Defendant noted that his two drunk driving cases were handled as civil ordinance

violations.   Wisconsin does treat first offense drunk driving civilly.      See Wis. Stat. §

346.65(2)(a). However, it appeared that defendant’s second such conviction from 2004 should

have been charged criminally, rather than handled in municipal court, as it represented his

second drunk driving conviction within five years. See Wis. Stat. § 346.65(b).1 He apparently

received a break there, as he would have faced mandatory jail time had that case been

charged as a second offense. Id. Defendant noted that he was not entitled to counsel in these

civil cases, but the PSR indicated that he did have a lawyer on the second case.

       Defendant’s other scored offense, for exposing genitals to a minor, arose out of a

consensual sexual encounter with a fourteen year old girl he believed to be eighteen. Again,

defendant may have gotten a break there, resolving the case as a misdemeanor when he

probably could have been charged with statutory rape. See, e.g., State v. Jadowski, 272 Wis.

2d 418 (2004).

       Defendant also had a state, criminal disorderly conduct conviction. That case did not

score points under U.S.S.G. § 4A1.2(c)(1), but I still considered it in evaluating the nature and

extent of his criminal history. That case arose out of a domestic dispute and involved

defendant forcibly pulling the female victim out of her car.

       Therefore, for all of these reasons, I could not conclude that placing defendant in

category II overstated the seriousness of his record. Nor, given his criminal conduct from 2000

to 2006, when he was arrested for this offense, could I conclude that category II overstated his

risk of recidivism. Thus, I declined to impose a lesser sentence on this basis under U.S.S.G.


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       Currently, Wisconsin treats as criminal a second offense committed within ten years.
The statute formerly included a five year window.

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§ 4A1.3 and 18 U.S.C. § 3553(a)(5).

        Aside from his record, defendant’s character and background were positive. I accepted

that he worked for cash in this country. The probation office was unable to obtain employer

verification, but that was not surprising given his status. His life in Mexico was poor, and he

came here looking for a better life, albeit without inspection. He sent money back to his family

in Mexico. Given his status, he faced deportation upon completion of his sentence.

        Defendant was married and had two children with his wife, one age two, the other a

baby born while he was in custody on this matter. His wife made positive statements about him

and indicated that she planned to follow him to Mexico after his removal. She wrote a letter to

the court, which depicted defendant as someone with a lot of good qualities. Defendant also

had a seven year old child from a previous relationship, and the mother of that child also had

good things to say about him. He seemed to be a good and involved father.

        Defendant admitted a history of alcohol and cocaine abuse, for which he had received

limited treatment. I recommended treatment through the Bureau of Prisons, but because of

his status as a deportable alien he was not eligible for any sentence reduction under those

programs.

C.      Guidelines

        The guidelines called for a term of 97-121 months. Under all of the circumstances, I

found that range somewhat greater than necessary. Defendant was a non-violent, first-time

drug offender who posed little or no danger to the public. See 18 U.S.C. § 3553(a)(2)(A) &

(C).   Further, the range did not account for the positives in defendant’s character and

background, including his work history and family ties, discussed above. Nor did the guidelines

account for the effect of defendant’s incarceration and deportation on his family. His wife and

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children, all U.S. citizens, planned to follow him to Mexico upon completion of his sentence,

which would cause considerable hardship for them. Defendant expressed great remorse for

this result of this conduct. Finally, defendant had never before served any jail time. Generally,

courts should impose incremental punishment to achieve deterrence. A guideline sentence

was somewhat greater than necessary to deter defendant from re-offending, given the nature

of his prior sentences. See 18 U.S.C. § 3553(a)(2)(B).

       Defendant requested a sentence of five years – the statutory minimum – but that was

insufficient. Specifically, such a sentence would have failed to promote respect for the law and

provide just punishment, given the amount of cocaine defendant distributed.              See §

3553(a)(2)(A). It would also be disproportionate to sentence someone responsible for 5-15

kilograms as if he had distributed only the 500 grams necessary to trigger the five year term.

                                      III. CONCLUSION

       Under all of the circumstances, I found a sentence of 78 months sufficient but not

greater than necessary. This sentence adequately accounted for the mitigating factors

mentioned, while still providing just punishment and deterrence. Because it varied from the

guidelines by only 2 levels and was based on the particular facts of the case it did not create

unwarranted disparity. § 3553(a)(6).

       Dated at Milwaukee, Wisconsin, this 9th day of June, 2007.


                                          /s Lynn Adelman
                                          ________________________________________
                                          LYNN ADELMAN
                                          District Judge




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